                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )      Case No. 1:16-cr-62-9
                                              )      Judge Mattice/Steger
 KADIE ENGLAND                                )

                                            ORDER

        On July 14, 2016, United States Magistrate Judge Christopher H. Steger filed a Report and

 Recommendation recommending: (a) the Court accept Defendant’s plea of guilty to Count One of

 the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of

 the Indictment; and (c) Defendant remain in custody pending sentencing in this matter (Doc. 124).

 Neither party filed an objection within the allotted fourteen day period. After reviewing the

 record, the Court agrees with Judge Steger’s Report and Recommendation. Accordingly, the

 Court ACCEPTS and ADOPTS the Report and Recommendation pursuant to 28 U.S.C. §

 636(b)(1). It is therefore

        ORDERED:

             1. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

             2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

                the Indictment; and

             3. Defendant SHALL REMAIN IN CUSTODY pending sentencing on October 24,

                2016, at 9:00 a.m.

        ENTER:

                                                           /s/ Harry S. Mattice, Jr._______
                                                          HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




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